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 6                            UNITED STATES DISTRICT COURT
 7                          CENTRAL DISTRICT OF CALIFORNIA
 8
     ~ UNITED STATES OF AMERICA,
 9

10                                 Plaintiff,        CASE NO.
11                          v.                                        8:21-CR-193-PA
     KEVIN IRAN
12                                                    ORDER OF DETENTION
13

14                                 Defendant. }
15

16                                                     I.

17        A. O        On motion of the Government in a case allegedly involving:
18             1. O      a crime of violence.
19            2.()       an offense with maximum sentence of life imprisonment or death.
20            3.()       a narcotics or controlled substance offense with maximum sentence
21                      often or more years .
22            4.()       any felony -where the defendant has been convicted oftwo or more
23                      prior offenses described above.
24            5.()      any felony that is not otherwise a crime of violence that involves a
25                       minor victim, or possession or use of a firearm or destructive device
26                      or any other dangerous weapon, or a failure to register under 18
27                      U.S.0 § 2250.
28       B.(~         On motion by the Government /( )on Court's own motion, in a case

                              ORDER OF DETENTION AFTER HEARING (IS U.S.C. §3142(1))

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  1                       allegedly involving:
 2             (~         On the further allegation by the Government of:
 3               1. (~       a serious risk that the defendant will flee.
 4              2.() a serious risk that the defendant will:
 5                    a.()obstruct or attempt to obstruct justice.
 6                    b.( )threaten, injure, or intimidate a prospective witness or juror or
 7                           attempt to do so.
 8         C. The Government()is/(~ is not entitled to a rebuttable presumption that no
 9              condition or combination ofconditions will reasonably assure the defendant's
10              appearance as required and the safety of any person or the community.
11

12                                                        II.

13         A.(~           The Court finds that no condition or combination of conditions will
14                        reasonably assure:
15              1. (~        the appearance ofthe defendant as required.
16                    O      and/or
17             2. (~        the safety of any person or the community.
18         B.()           The Court finds that the defendant has not rebutted by sufficient
19                      evidence to the contrary the presumption provided by statute.
20

21                                                       III.
22         The Court has considered:
23         A. the nature and circumstances ofthe offenses) charged, including whether the
24             offense is a crime of violence, a Federal crime ofterrorism, or involves a minor
25             victim or a controlled substance, firearm, explosive, or destructive device;
26        B. the weight of evidence against the defendant;
27        C. the history and characteristics ofthe defendant; and
28        D. the nature and seriousness ofthe danger to any person or to the community.

                                  ORDER OF DETENTION AFTER HEARING (IS U.S.C. §3142(1))

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  1                                                       IV.
 2          The Court also has considered all the evidence adduced at the hearing and the
 3          arguments        and/or statements of counsel, and                    the    Pretrial   Services
 4          Report/recommendation.
 5

 6                                                        1~
 7          The Court bases the foregoing findings) on the following:
 8          A.(~         As to flight risk:
 9          The arguments raised in government's request for detention and all the reasons stated in the
            November 22, 2021 Pretrial Services Report, which include his lack of a bond package
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            available, multiple prior violations of probation, engaging in criminal conduct while subject
11          to court supervision, convictions for failure to appear and obstructing a public officer.

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16         B.(~          As to danger:
17          The arguments raised in government's request for detention, including the nature of the
            offense and weight of the evidence, and all the reasons stated in the November 22, 2021
18
            Pretrial Services Report, which include defendant's significant criminal history including
19          multiple prior felony convictions for firearm-related, other weapons-related, and
            drug-related offenses.
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24 i                                                     VI.
25         A.()          The Court finds that a serious risk exists that the defendant will:
26                    1.()obstruct or attempt to obstruct justice.

27                    2.()attempt to/( )threaten, injure or intimidate a witness or juror.
28

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     1         B. The Court bases the foregoing findings) on the following:
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 9                                                        VII.
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11            A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
12            B. IT IS FURTHER ORDERED that the defendant be committed to the custody
13                 of the Attorney General for confinement in a corrections facility separate, to
14                 the extent practicable, from persons awaiting or serving sentences or being
15                 held in custody pending appeal.
16            C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
17                 opportunity for private consultation with counsel.
18            D. IT IS FURTHER ORDERED that, on order of a Court ofthe United States
19                 or on request of any attorney for the Government, the person in charge of the
20                 corrections facility in which the defendant is confined deliver the defendant
21                 to a United States marshal for the purpose of an appearance in connection
22                 with a court proceeding.
23

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Zs                                                                   t.,~            s. ,I
26 DATED: November 22.2021
                                                       UNITED STATES MAGISTRATE JUDGE
27

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                                  ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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